  Case 22-3091, Document 64, 04/07/2023, 3495949, Page1 of 36




          22-3091                      To Be Argued By:
                                       JARROD L. SCHAEFFER


     United States Court of Appeals
                FOR THE SECOND CIRCUIT
                    Docket No. 22-3091

                UNITED STATES OF AMERICA,
                            —v.—          Plaintiff-Appellant,

                      BRIAN BENJAMIN,
                                         Defendant-Appellee,
    GERALD MIGDOL, also known as Sealed Defendant 1,
             also known as Gerald Migol,
                                              Defendant.

    ON APPEAL   FROM THE  UNITED STATES DISTRICT COURT
          FOR THE   SOUTHERN DISTRICT OF NEW YORK


REPLY BRIEF FOR THE UNITED STATES OF AMERICA

                               DAMIAN WILLIAMS ,
                               United States Attorney for the
                               Southern District of New York,
                               Attorney for the United States
                                         of America.
                               One St. Andrew’s Plaza
JARROD L. SCHAEFFER ,          New York, New York 10007
                               (212) 637-2200
HAGAN SCOTTEN ,
  Assistant United States Attorneys,
              Of Counsel.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page2 of 36




                        TABLE OF CONTENTS
                                                                        PAGE

   Preliminary Statement . . . . . . . . . . . . . . . . . . . . . . . 1

   ARGUMENT— The District Court Erred in Dismissing
      the Bribery Counts . . . . . . . . . . . . . . . . . . . . . . . 2

        A. McCormick Does Not Require an Express
           Quid Pro Quo . . . . . . . . . . . . . . . . . . . . . . . . 2

        B. Evans Confirms the District Court’s
           Error . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10

        C. This Court’s Cases Do Not Support the
           District Court’s Construction of
           McCormick . . . . . . . . . . . . . . . . . . . . . . . . . 14

        D. The Bribery Counts Are Sufficiently
           Pled . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20

              1.   Explicitness Is Not an Element Required
                   to Be Alleged in an Indictment . . . . . . 21

              2.   The Bribery Counts Sufficiently Allege
                   Crimes. . . . . . . . . . . . . . . . . . . . . . . . . . 26

   CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29

                      TABLE OF AUTHORITIES

   Cases:
   Citizens United v. Fed. Election Comm’n,
      558 U.S. 310 (2010) . . . . . . . . . . . . . . . . . . . . . . . . . 6
   Evans v. United States,
     504 U.S. 255 (1992) . . . . . . . . . . . . . . . . . . . . passim
Case 22-3091, Document 64, 04/07/2023, 3495949, Page3 of 36




                                       ii
                                                                       PAGE

   Fed. Election Comm’n v. Cruz,
      142 S. Ct. 1638 (2022). . . . . . . . . . . . . . . . . . . . . . . 6
   Jimenez v. Walker,
      458 F.3d 130 (2d Cir. 2006) . . . . . . . . . . . . . . . . . 18
   McCormick v. United States,
     500 U.S. 257 (1991) . . . . . . . . . . . . . . . . . . . . passim
   McCutcheon v. Fed. Election Comm’n,
     572 U.S. 185 (2014) . . . . . . . . . . . . . . . . . . . . . . . . . 6
   McDonnell v. United States,
     579 U.S. 550 (2016) . . . . . . . . . . . . . . . . . . . . . . . . . 6
   Neder v. United States,
     527 U.S. 1 (1999) . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
   Patsy’s Italian Rest., Inc. v. Banas,
      508 F. Supp. 2d 194 (E.D.N.Y. 2007) . . . . . . . . . . 19
   Hormel Foods Corp. v Jim Henson Productions, Inc.,
     73 F.3d 497 (2d Cir. 1996) . . . . . . . . . . . . . . . . . . 18
   United States v. Aleynikov,
     676 F.3d 71 (2d Cir. 2012) . . . . . . . . . . . . . . . 27, 28
   United States v. Alfonso,
     143 F.3d 772, (2d Cir. 1998) . . . . . . . . . . . . . . 25, 27
   United States v. Allinson,
     27 F.4th 913 (3d Cir. 2022) . . . . . . . . . . . . 3, 8, 11
   United States v. Balde,
     943 F.3d 73 (2d Cir. 2019) . . . . . . . . . . . . . . . . . . 21
   United States v. Blandford,
     33 F.3d 685 (6th Cir. 1994) . . . . . . . . . . . . . . . . . . 8
Case 22-3091, Document 64, 04/07/2023, 3495949, Page4 of 36




                                   iii
                                                               PAGE

   United States v. Blagojevich,
     794 F.3d 729 (7th Cir. 2015) . . . . . . . . . . . . . . . . . 9
   United States v. Bout,
     731 F.3d 233 (2d Cir. 2013) . . . . . . . . . . . . . . . . . 21
   United States v. Brennan,
     183 F.3d 139 (2d Cir. 1999) . . . . . . . . . . . . . . . . . . 7
   United States v. Carpenter,
     961 F.2d 824 (9th Cir. 1992) . . . . . . . . . . . . . 3, 7, 8
   United States v. Correia,
     55 F.4th 12 (1st Cir. 2022) . . . . . . . . . . . . . 7, 8, 19
   United States v. Davis,
     30 F.3d 108 (11th Cir. 1994) . . . . . . . . . . . . . . . . 22
   United States v. Davis,
     841 F. App’x 375 (3d Cir. 2021) . . . . . . . . . . . . . . . 9
   United States v. Dawkins,
     999 F.3d 767 (2d Cir. 2021) . . . . . . . . . . . . . . . . . . 4
   United States v. Donagher,
     520 F. Supp. 3d 1034 (N.D. Ill. 2021) . . . . . . . . . 22
   United States v. Dozier,
     672 F.2d 531 (5th Cir. 1982) . . . . . . . . . . . . . . . 5, 8
   United States v. Ford,
     435 F.3d 204 (2d Cir. 2006) . . . . . . . . . . . . . . . . . 24
   United States v. Friedman,
     854 F.2d 535 (2d Cir. 1988) . . . . . . . . . . . . . . 11, 12
   United States v. Ganim,
     510 F.3d 134 (2d Cir. 2007) . . . . . . . . . . . . . . 14, 19
Case 22-3091, Document 64, 04/07/2023, 3495949, Page5 of 36




                                   iv
                                                               PAGE

   United States v. Garcia,
     992 F.2d 409 (2d Cir. 1993) . . . . . . . . . . 14, 17, 19
   United States v. Goldberg,
     756 F.2d 949 (2d Cir. 1985) . . . . . . . . . . . . . . . . . 25
   United States v. Inzunza,
     638 F.3d 1006 (9th Cir. 2011) . . . . . . . . . . . . . 8, 20
   United States v. MacPherson,
     424 F.3d 183 (2d Cir. 2005) . . . . . . . . . . . . . . . . . 12
   United States v. McGregor,
     879 F. Supp. 2d 1308 (M.D. Ala. 2012) . . . . . . . . 22
   United States v. Ng Lap Seng,
     934 F.3d 110 (2d Cir. 2019) . . . . . . . . . . 22, 23, 25
   United States v. Oshatz,
     912 F.2d 534 (2d Cir. 1990) . . . . . . . . . . . . . . . . . 19
   United States v. Pirro,
     212 F.3d 86 (2d Cir. 2000) . . . . . . . . . . . . . . . 27, 28
   United States v. Rooney,
     37 F.3d 847 (2d Cir. 1994) . . . . . . . . . . . . . . . . . . 27
   United States v. Sampson,
     898 F.3d 270 (2d Cir. 2018) . . . . . . . . . . . . . . 25, 27
   United States v. Santeramo,
     45 F.3d 622 (2d Cir. 1995) . . . . . . . . . . . . . . . . . . 23
   United States v. Siegelman,
     640 F.3d 1159 (11th Cir. 2011) . . . . . . . . . . . . . 3, 8
   United States v. Stringer,
     730 F.3d 120 (2d Cir. 2013) . . . . . . . . . . . . . . . . . 29
Case 22-3091, Document 64, 04/07/2023, 3495949, Page6 of 36




                                   v
                                                              PAGE

   United States v. Terry,
     707 F.3d 607 (6th Cir. 2013) . . . . . . . . . . . 8, 9, 21
   United States v. Tomblin,
     46 F.3d 1369 (5th Cir. 1995) . . . . . . . . . . . . . . . 3, 9
   United States v. Turcotte,
     515 F.2d 145 (2d Cir. 1975) . . . . . . . . . . . . . . . . . 12
Case 22-3091, Document 64, 04/07/2023, 3495949, Page7 of 36




       United States Court of Appeals
                FOR THE SECOND CIRCUIT
                   Docket No. 22-3091



                UNITED STATES OF AMERICA,
                                     Plaintiff-Appellant,
                          —v.—

                     BRIAN BENJAMIN,
                                     Defendant-Appellee.
    GERALD MIGDOL, also known as Sealed Defendant 1,
              also known as Gerald Migol,
                                              Defendant.


                     REPLY BRIEF
          FOR THE UNITED STATES OF AMERICA




                 Preliminary Statement
      The Government respectfully submits this reply to
   the brief filed by defendant-appellee Brian Benjamin,
   and in further support of its appeal from the District
   Court’s December 5, 2022 order dismissing three
   counts of the Indictment against Benjamin.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page8 of 36




                              2


                      ARGUMENT

    The District Court Erred in Dismissing the Bribery
                          Counts
       The District Court dismissed three counts alleging
   that Benjamin, then a state senator, solicited and re-
   ceived bribes by agreeing to allocate $50,000 in state
   funds to a non-profit organization in exchange for cam-
   paign contributions, holding that this did not suffi-
   ciently allege an explicit quid pro quo under McCor-
   mick v. United States, 500 U.S. 257 (1991). But the Su-
   preme Court has held that demanding or accepting
   money in exchange for official action “satisfies the quid
   pro quo requirement of McCormick.” Evans v. United
   States, 504 U.S. 255, 268 (1992). In his brief, Benjamin
   fails to acknowledge, much less address, this disposi-
   tive holding. Instead, Benjamin claims there can be no
   explicit quid pro quo unless the evidence of that agree-
   ment is express. That is not what McCormick held. As
   other courts have consistently recognized, it is the spe-
   cific things to be exchanged that must be explicit. The
   evidence offered to prove that agreement, like evidence
   in every other area of criminal law, can be direct or
   circumstantial, as every Circuit to consider this ques-
   tion has held.

   A. McCormick Does Not Require an Express
      Quid Pro Quo
       In its opening brief, the Government explained that
   courts have consistently understood the explicit quid
   pro quo required by McCormick to mean that an
   agreed-upon exchange must be clear and unambiguous
   in its terms, not that the agreement was reached using
Case 22-3091, Document 64, 04/07/2023, 3495949, Page9 of 36




                               3


   express words. (Br. 15-22). 1 In response, Benjamin
   claims that the Government “reads the word ‘explicit’
   out of ” McCormick. (Benjamin Br. 21-22). This dodge
   is disingenuous at best: the central question on appeal
   is what “explicit” means in McCormick, which is why
   the word appears 77 times in the Government’s open-
   ing brief. More importantly, the meaning of “explicit”
   is the focus of the Circuit decisions uniformly rejecting
   Benjamin’s interpretation. See, e.g., United States v.
   Allinson, 27 F.4th 913, 925 (3d Cir.) (“The explicitness
   requirement does not require an official’s specific
   statement that he will exchange official action for a
   contribution, but rather requires that the quid pro quo
   be clear and unambiguous, leaving no uncertainty
   about the terms of the bargain.”), cert. denied, 143 S.
   Ct. 427 (2022); United States v. Siegelman, 640 F.3d
   1159, 1171 (11th Cir. 2011) (“Since the [bribery] agree-
   ment is for some specific action or inaction, the agree-
   ment must be explicit, but there is no requirement that
   it be express.”), cert. denied, 566 U.S. 1043 (2012);
   United States v. Tomblin, 46 F.3d 1369, 1381 (5th Cir.
   1995) (“The explicitness requirement is satisfied so
   long as the terms of the quid pro quo are clear and un-
   ambiguous.”); United States v. Carpenter, 961 F.2d

   —————
      1   “Br.” refers to the Government’s main brief on
   appeal. “A.” refers to the appendix filed with that brief.
   “Benjamin Br.” refers to Benjamin’s brief on appeal.
   “Dkt.” refers to an entry on the District Court’s docket
   for this case. Unless otherwise noted, case text quota-
   tions omit all internal alterations, quotation marks,
   and citations.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page10 of 36




                                4


    824, 827 (9th Cir.) (“This understanding need not be
    verbally explicit. . . . As we read McCormick, the explic-
    itness requirement is satisfied so long as the terms of
    the quid pro quo are clear and unambiguous.”), cert.
    denied, 506 U.S. 919 (1992).
       Benjamin also attempts to convert McCormick into
    a case about sufficiency of the evidence, and then to
    prevail by arguing that the evidence in McCormick
    was stronger than the evidence here. (Benjamin
    Br. 22-23). But this tactic cannot help him for at least
    two independent reasons.
         First, even if McCormick were an opinion about suf-
    ficiency of the evidence, this appeal plainly is not. Ben-
    jamin does not, and could not reasonably, dispute that
    “ ‘[a]t the indictment stage, we do not evaluate the ad-
    equacy of the facts to satisfy the elements of the
    charged offense. That is something we do after trial.’ ”
    (Br. 50 (quoting United States v. Dawkins, 999 F.3d
    767, 780 (2d Cir. 2021))). The Government does not
    agree that the evidence against Benjamin is weaker
    than the evidence in McCormick, but this Court cannot
    now judge that, because there has not been a trial and
    no evidence has been received. Therefore, even if
    McCormick were a sufficiency case, the correct resolu-
    tion of this appeal would be to remand for trial on the
    bribery counts, so that the evidence against Benjamin
    could be heard and compared to the evidence in
    McCormick.
       Second, McCormick concerned jury instructions,
    not sufficiency of the evidence. (Br. 33-34). To assert
    otherwise, Benjamin relies on a footnote in which the
    McCormick majority stated it was “far from clear” that
Case 22-3091, Document 64, 04/07/2023, 3495949, Page11 of 36




                               5


    the Government had met its burden. McCormick, 500
    U.S. at 267 n.5. But that footnote actually shows the
    opposite. It responded to the dissent’s view that proof
    of a quid pro quo was overwhelming, and thus any de-
    fect in the instructions harmless. Id.; id. at 281 (Ste-
    vens, J., dissenting)). That is why the majority said
    only that it was “far from clear” that the evidence was
    sufficient: Although such an indefinite description is
    not enough to reverse a conviction for insufficiency, it
    responded to the dissent’s view that the instructional
    error was harmless. See generally Neder v. United
    States, 527 U.S. 1 (1999). 2
       Benjamin’s primary attempt to address McCormick
    does not interpret McCormick at all, but instead relies
    —————
       2   This footnote also refutes another of Benjamin’s
    arguments. As noted in the Government’s main brief,
    McCormick endorsed the Fifth Circuit’s decision in
    United States v. Dozier, 672 F.2d 531 (5th Cir. 1982),
    as correctly stating the quid pro quo requirement in
    campaign contribution cases, and Dozier affirmed con-
    victions that did not involve an express agreement.
    (Br. 19). Benjamin minimizes Dozier’s import, claim-
    ing that McCormick contains “no discussion of the
    facts or issues presented in that case.” (Benjamin
    Br. 23). But in the same footnote Benjamin cites,
    McCormick recognized Dozier as among those cases
    that already required the correct quid pro quo. McCor-
    mick, 500 U.S. at 267 n.5. And McCormick elsewhere
    cited Dozier as an example of a case consistent with
    the need to “define[ ] the forbidden zone of conduct
    with sufficient clarity.” McCormick, 500 U.S. at 273.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page12 of 36




                               6


    on other cases concerning different statutes—many
    civil—exploring First Amendment protections for cam-
    paign contributions. (Benjamin Br. 16-21). Suggesting
    this circuitous route to understanding McCormick is
    odd: both parties agree that McCormick was driven by
    First Amendment concerns, and that faithful applica-
    tion of McCormick suffices to protect those concerns.
    (Br. 40; Benjamin Br. 18). It is thus unclear why Ben-
    jamin does not first resort to cases applying McCor-
    mick, other than because they all come out against
    him.
        In any event, the disparate cases Benjamin cites do
    not help him, because they make clear that the First
    Amendment in no way protects a quid pro quo involv-
    ing campaign contributions. See Fed. Election Comm’n
    v. Cruz, 142 S. Ct. 1638, 1652-54 (2022) (the Govern-
    ment may prevent “quid pro quo corruption” in cam-
    paign contributions, but “may not seek to limit the ap-
    pearance of mere influence or access”); McCutcheon v.
    Fed. Election Comm’n, 572 U.S. 185, 192 (2014) (“Any
    regulation must . . . target what we have called ‘quid
    pro quo’ corruption or its appearance.”); McDonnell v.
    United States, 579 U.S. 550, 572-73 (2016) (“It is up to
    the jury, under the facts of the case, to determine
    whether the public official agreed to perform an ‘offi-
    cial act’ at the time of the alleged quid pro quo.”). In-
    deed, even in its staunchest protection of campaign
    contributions under the First Amendment, the Su-
    preme Court approved the use of “bribery laws if a
    quid pro quo arrangement were proved.” Citizens
Case 22-3091, Document 64, 04/07/2023, 3495949, Page13 of 36




                               7


    United v. Fed. Election Comm’n, 558 U.S. 310, 360
    (2010). 3
        When Benjamin finally turns to cases interpreting
    McCormick, he fares no better. Confronted with a uni-
    form line of cases rejecting the District Court’s inter-
    pretation, he does not claim to identify even one that
    embraces his understanding of “explicit.” (Compare
    Br. 16-17 with Benjamin Br. 38-43). Instead, he states
    that the First and Ninth Circuits do not apply Evans
    in cases involving campaign contributions. (Benjamin
    Br. 38). But that hardly helps him, because both those
    Circuits nonetheless accept the Government’s inter-
    pretation of McCormick. See Carpenter, 961 F.2d at
    827; United States v. Correia, 55 F.4th 12, 24-25, 30-
    31 (1st Cir. 2022) (rejecting sufficiency-of-the-evidence
    challenge to campaign contributions bribery convic-
    tion based on quid pro quo formed without express
    statement and proven by inferences). His argument
    only proves the Government’s point that however you



    —————
       3 Benjamin’s defense of his other constitutional ar-
    gument merits little reply. He continues to argue that
    he lacked “fair warning” that his conduct was criminal,
    despite the litany of affirmed prosecutions on the the-
    ory at issue here. (Benjamin Br. 36-37). The only new
    case he cites thus further defeats his argument. See
    United States v. Brennan, 183 F.3d 139, 150 (2d Cir.
    1999) (noting due process concerns where Government
    identified “no precedent for criminal liability” on the
    theory at issue).
Case 22-3091, Document 64, 04/07/2023, 3495949, Page14 of 36




                               8


    read Evans, the District Court misread McCormick.
    (Br. 20-22).
       Benjamin also notes that campaign contributions
    were not at issue in United States v. Blandford, 33
    F.3d 685 (6th Cir. 1994). (Benjamin Br. 38). That is
    true, which is why the Government did not include
    Blandford in the long list of cases applying the Gov-
    ernment’s understanding of McCormick. (See Br. 17-
    18). But it is quite clear that the Sixth Circuit takes
    the Government’s view of McCormick—it rejected Ben-
    jamin’s arguments, almost point-by-point, in United
    States v. Terry, 707 F.3d 607, 612-14 (6th Cir. 2013).
    There is thus no reason this Court should not also con-
    sult Blandford’s analysis of McCormick as persuasive
    authority. See 33 F.3d at 694-96.
        Benjamin further errs in trying to distinguish cases
    rejecting his position as involving bribes consisting
    partly of campaign contributions and partly of other
    benefits. (Benjamin Br. 39-40). To start, although
    some of those cases concerned mixed bribes, just as
    many concerned bribes consisting solely of contribu-
    tions. See Allinson, 27 F.4th at 918-19; Siegelman, 640
    F.3d at 1166; Carpenter, 961 F.2d at 825; United States
    v. Inzunza, 638 F.3d 1006, 1013 (9th Cir. 2011); Dozier,
    672 F.2d at 536-38. More importantly, none of the
    cases involving more than one type of bribe suggest
    that fact had anything to do with their holding. With
    good reason: in each of the cases Benjamin cites, the
    jury could have convicted based solely on the campaign
    contributions, and so the courts had to analyze
    whether those contributions alone could sustain the
    verdict. See Correia, 55 F.4th at 30-31 (finding an
Case 22-3091, Document 64, 04/07/2023, 3495949, Page15 of 36




                               9


    “explicit quid pro quo” under McCormick with respect
    to the “branch” of the defendant’s argument concern-
    ing campaign contributions); United States v. Davis,
    841 F. App’x 375, 378 n.4 (3d Cir. 2021) (“The jury also
    heard evidence about non-campaign payments, but
    Davis only challenges the finding that the campaign
    contributions constituted illegal quid pro quos.”);
    United States v. Blagojevich, 794 F.3d 729, 733 (7th
    Cir. 2015) (“[F]ederal law forbids any payment (or
    agreement to pay), including a campaign contribution,
    in exchange for the performance of an official act.”);
    Terry, 707 F.3d at 713 (“That a bribe doubles as a cam-
    paign contribution does not by itself insulate it from
    scrutiny.”); Tomblin, 46 F.3d at 1379 (“The question is
    whether the jury instruction given by the district court
    ‘substantially covered’ the distinction between the in-
    tent to make a legitimate campaign contribution and
    the intent to bribe.”). 4
       Benjamin’s inability to distinguish any of the cases
    embracing the Government’s understanding of McCor-
    mick also further refutes his invocation of general
    First Amendment principles. Benjamin describes the
    Government’s understanding of McCormick as “dan-
    gerous,” a threat to “core democratic and First
    —————
       4  The remainder of Benjamin’s analysis on this
    question is an apples-to-oranges comparison of evi-
    dence introduced at trials in other cases with the lan-
    guage of the Indictment here. (Benjamin Br. 40-43).
    But that only brings him back to the same flaw in his
    argument: If he wants to attack the sufficiency of the
    evidence, there must first be a trial.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page16 of 36




                              10


    Amendment principles.” (Benjamin Br. 4, 18). 5 Absent
    is any analysis or evidence suggesting that the demo-
    cratic process is less vibrant in the 29 states covered
    by the seven Circuits that embrace the Government’s
    interpretation of McCormick—which remains the only
    interpretation accepted by any Circuit.

    B. Evans Confirms the District Court’s Error
        Benjamin spends a great deal of his brief asking
    this Court to ignore Evans. (Benjamin Br. 28-43). He
    has little choice. Evans states that providing specific
    official acts “in exchange for” campaign contributions
    “satisfies the quid pro quo requirement of McCor-
    mick.” Evans, 504 U.S. at 268. Because that is what
    the Indictment alleges, if this Court follows Evans
    then Benjamin loses. But before addressing his argu-
    ments that a case explaining what satisfies McCor-
    mick somehow cannot aid in interpreting McCormick,
    another point bears repeating. Benjamin also loses
    without considering Evans. As explained in the Gov-
    ernment’s opening brief and above, Circuits that do
    not apply Evans in cases concerning campaign contri-
    butions still reject the District Court’s belief that
    —————
       5   Benjamin’s amicius goes even further, conjuring
    a parade of horribles that will ensue from “chang[ing]
    the existing rules” concerning campaign contributions
    (Amicus Br. 5-21), without identifying a single court
    that has embraced these “existing rules”—much less
    acknowledging that courts presiding over most of the
    country have rejected those “rules” over the last three
    decades.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page17 of 36




                               11


    McCormick requires an express quid pro quo. (Supra
    at 7).
        That is because Evans simply applies McCormick
    and universally accepted principles of criminal law
    that criminal agreements are seldom reached in ex-
    press terms and typically proven through circumstan-
    tial evidence. Benjamin thus misses the point in deni-
    grating as “wholly inapposite” the numerous cases
    showing that mutual understandings to commit
    crimes are often established through inferences. That
    the cases standing for this principle run the gamut
    from firearms to financial crimes shows that this ap-
    plies in all criminal cases. (Compare Benjamin Br. 22-
    23 with Br. 21-22). And there is hardly a shortage of
    cases applying this logic in the context of bribing poli-
    ticians, whether with contributions or something else.
    See, e.g., United States v. Friedman, 854 F.2d 535, 553
    (2d Cir. 1988) (“Indeed, evidence of a corrupt agree-
    ment in bribery cases is usually circumstantial, be-
    cause bribes are seldom accompanied by written con-
    tracts, receipts or public declarations of intentions.”);
    Allinson, 27 F.4th at 925 (approving, as correct state-
    ment of law, instruction that “[t]he explicitness re-
    quirement does not require an official’s specific state-
    ment that he will exchange official action for a contri-
    bution, but rather requires that the quid pro quo be
    clear and unambiguous, leaving no uncertainty about
    the terms of the bargain”).
       Evans is another such case, showing that like every
    other sort of conspiracy, campaign contribution quid
    pro quos can be established through “knowing winks
    and nods.” Evans, 504 U.S. at 274 (Kennedy, J.,
Case 22-3091, Document 64, 04/07/2023, 3495949, Page18 of 36




                               12


    concurring); see Friedman, 854 F.2d at 553 (the “agree-
    ment or understanding element of bribery is indistin-
    guishable from a conspiratorial agreement, and ac-
    cordingly may be proven by circumstantial evidence”).
    So obvious is this that Benjamin disclaims any argu-
    ment that circumstantial evidence cannot be used to
    prove intent. (Benjamin Br. 24). But that is exactly
    what he elsewhere urges, repeatedly arguing that the
    quid pro quo here cannot be “inferred” or “proven in-
    ferentially.” (Benjamin Br. 2, 10, 13, 29, 38, 49). “In-
    ferring” is what the jury does when presented with cir-
    cumstantial evidence, which by definition does not di-
    rectly prove the disputed fact. See, e.g., United States
    v. MacPherson, 424 F.3d 183, 189 (2d Cir. 2005);
    United States v. Turcotte, 515 F.2d 145, 150 (2d Cir.
    1975) (“It is well established that a jury can infer an
    agreement to violate the law from circumstantial evi-
    dence.”).
          In any event, Benjamin’s efforts to distinguish Ev-
    ans lack merit. First, he asserts that the campaign con-
    tribution in Evans was unimportant. To the contrary,
    in the Supreme Court, Evans “argue[d] that the jury
    charge with respect to extortion . . . allowed the jury to
    convict him on the basis of [his] ‘passive acceptance of
    a contribution,’ ” and “contend[ed] that the instruction
    . . . did not properly describe the quid pro quo require-
    ment for conviction if the jury found that the payment
    was a campaign contribution.” 504 U.S. at 267-68. The
    Court directly engaged with that second argument,
    “reject[ed] . . . criticism of the instruction, and con-
    clude[d] that it satisfie[d] the quid pro quo require-
    ment of McCormick.” Id. at 268.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page19 of 36




                               13


        Second, Benjamin’s fixation on whether the Evans
    jury concluded that the bribes were actually campaign
    contributions is irrelevant, because the legal issue was
    whether the jury instruction—given before the jury de-
    cided anything—properly allowed jurors to convict
    even if they considered the payments to be contribu-
    tions. Id. at 268-69. The jury’s determination as to
    whether the payments were contributions thus ap-
    pears nowhere in the Evans opinion. That is why Ben-
    jamin has to cite the Government’s brief in Evans to
    find this fact. (See Benjamin Br. 26 (citing Brief for the
    United States, 1991 WL 527605, at *45)). And even in
    that brief, this fact appeared as part of the Govern-
    ment’s separate argument on whether sufficient evi-
    dence supported the defendant’s additional conviction
    for tax fraud, where it was relevant because the jury
    had been instructed that if payments were contribu-
    tions then they were not reportable income. See 1991
    WL 527605, at *45. The notion that the jury’s determi-
    nation whether the bribes were truly contributions
    had even the slightest bearing on Evans’ application of
    McCormick thus lacks any foundation.
        Third, Benjamin insists that Evans is inapplicable
    because “[a] case involving both personal cash pay-
    ments and campaign contributions does not raise the
    same concerns as one where the purported bribe con-
    sists solely of campaign contributions.” (Benjamin
    Br. 27). Benjamin cites no authority for that distinc-
    tion, and for good reason—it is entirely his own inven-
    tion. As discussed above, no Circuit has discerned this
    distinction, and courts reject Benjamin’s position with
    equal ease in cases involving bribes consisting solely of
    contributions. Nor does Evans itself hint at this
Case 22-3091, Document 64, 04/07/2023, 3495949, Page20 of 36




                                14


    distinction; it could not reasonably do so, because the
    jury instruction it approved expressly applied “regard-
    less of whether the payment is made in the form of a
    campaign contribution.” 504 U.S. at 259.

    C.   This Court’s Cases Do Not Support the District
         Court’s Construction of McCormick
        In its main brief, the Government showed that the
    District Court’s interpretation of McCormick was not
    supported by this Court’s decisions in United States v.
    Garcia, 992 F.2d 409 (2d Cir. 1993), and United States
    v. Ganim, 510 F.3d 134 (2d Cir. 2007). In short, neither
    case concerned campaign contributions, and so their
    brief discussions of how McCormick and Evans might
    apply in a case that did involve contributions were
    dicta. (Br. 23-33).
        Benjamin does not dispute the District Court’s ac-
    knowledgment that this Court has never decided a
    campaign contribution bribery case. (A. 35). And his
    attempt to argue it has nonetheless issued binding in-
    terpretations of McCormick begins on a false note. He
    claims that “[s]ince Ganim, and as recently as 2020,
    this Court has cited and relied on its holding[ ] . . . that
    McCormick requires an ‘express’ quid pro quo.” (Ben-
    jamin Br. 30). But although this Court has certainly
    “cited” Ganim—as the Government’s opening brief dis-
    cussed (Br. 30-31)—it has never “relied” on Ganim’s
    discussion of McCormick’s requirements. It could not
    have, if Benjamin’s other claims are to be believed. If
    there have been no campaign contributions bribery
    prosecutions in this Circuit (Benjamin Br. 37), and
    McCormick applies only to campaign contributions
Case 22-3091, Document 64, 04/07/2023, 3495949, Page21 of 36




                              15


    bribery (Benjamin Br. 27), this Court could not have
    relied on a definition of a standard applicable only in
    cases it has not considered.
        Benjamin continues off-key when discussing the
    Government’s prior citations to Ganim and Garcia.
    (Benjamin Br. 31-33). Even assuming the doubtful
    proposition that the Government can decide which
    portions of this Court’s decisions are binding, the dis-
    cussion of those cases in other briefs does not show the
    Government accepting Benjamin’s position. Once
    again, Benjamin proves only that the Government has
    quoted his favorite parts of Ganim and Garcia, not
    that it relied on them as establishing the standard for
    campaign contributions bribery. That is (also once
    again) because none of those cases concerned cam-
    paign contribution bribery, and so the Government’s
    quotations served the same purpose as this Court’s
    discussions of McCormick in Ganim and Garcia: to set
    aside the standard for campaign contribution bribery
    as inapplicable to the matter at hand. See, e.g., Brief
    for the United States of America, United States v. Sil-
    ver, No. 18-2380, 2018 WL 6039487, at *23 n.5 (Nov.
    14, 2018) (citing Ganim and Garcia for the proposition
    that “[w]here, as here, the payment does not take the
    form of a campaign contribution, the quid pro quo need
    not be ‘explicit.’ ”).
       If this Court consults those briefs at all, they only
    further support the Government’s position here. For
    example, Benjamin claims that the Government’s brief
    in United States v. Rosen “agreed that in campaign-
    contribution cases the government must prove an ‘ex-
    press’ quid pro quo agreement, contrasting it with the
Case 22-3091, Document 64, 04/07/2023, 3495949, Page22 of 36




                                16


    ‘implied’ agreement applicable in other cases.” (Benja-
    min Br. 31). He omits, however, that the brief used “ex-
    press” to mean “that the defendant intended for his
    payments to be tied to specific official acts,” in contrast
    to a “payment to exercise particular kinds of influence
    . . . as specific opportunities arise.” Brief for the United
    States of America, United States v. Rosen, No. 12-2249,
    2012 WL 3900585, at *30 (Aug. 31, 2012). That only
    reinforces the Government’s point that to the extent
    the discussion of “express” had any significance in
    cases like Rosen, it was to distinguish the “as opportu-
    nities arise” theory at issue in those cases, but not
    here. (See Br. 30-32). 6


    —————
       6   If this Court has any doubt as to the Govern-
    ment’s position on McCormick, Ganim, and Garcia, it
    need look no further than the Government’s numerous
    briefs filed in the Supreme Court that successfully op-
    posed certiorari in the decisions that reject Benjamin’s
    position, and explained that the discussions of McCor-
    mick in Ganim and Garcia are dicta. See, e.g., Davis v.
    United States, No. 21-5081, Opp’n to Pet. (filed Sept.
    13, 2021); Blagojevich v. United States, No. 17-658,
    Opp’n to Pet., 2018 WL 1292485 (filed Mar. 9, 2018);
    Blagojevich v. United States, No. 15-664, Opp’n to Pet.,
    2016 WL 962857 (filed Feb. 19, 2016); Terry v. United
    States, No. 13-392, Opp’n to Pet., 2014 WL 316651 at
    *10 (filed Jan. 27, 2014); Siegelman v. United States,
    Nos. 11-955, 11-972, Opp’n to Pet., 2012 WL 1648363
    (filed May 4, 2012); Scrushy v. United States, Nos. 09-
    167, 09-182, Opp’n to Pet., 2009 WL 3844431 (filed
Case 22-3091, Document 64, 04/07/2023, 3495949, Page23 of 36




                              17


        When Benjamin finally attempts to explain how
    the language upon which he relies was necessary to
    the decision of Garcia, he claims that “[i]f Evans had
    been a campaign contribution case, and its holding
    (like McCormick’s) limited to that context, this Court
    would not have reversed” in Garcia. (Benjamin Br. 33).
    That is true, but it is also irrelevant. No one has sug-
    gested that Evans is limited to contribution cases; the
    question is whether Evans also applies to contribution
    cases. (A. 31-35). 7 And although Garcia would have
    been decided differently if Evans were limited to con-
    tribution cases, it would not have been decided differ-
    ently if Evans also applied to contribution cases.
    (Br. 26-27). That means that the latter point is not a
    holding of Garcia. To take another example, Citizens
    United would have been decided differently if the First
    Amendment were limited to freedom of religion, but
    Citizens United does not hold that the First Amend-
    ment is inapplicable to freedom of religion.



    —————
    Nov. 13, 2009); Inzunza v. United States, No. 11-67,
    Opp’n to Pet., 2011 WL 5555726 (filed Nov. 14, 2011).
       7   This also was not the question in Garcia. There,
    the district court did not apply Evans because Evans
    had not yet been decided. Garcia, 992 F.2d at 413-14.
    Because Evans had been decided by the time of the ap-
    peal, the question in Garcia became whether the jury
    instructions adequately conveyed the quid pro quo re-
    quirement clarified in Evans, which unquestionably
    applied. Id. at 414.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page24 of 36




                               18


        Benjamin does not even attempt to show that Ga-
    nim’s statements about whether Evans applies in con-
    tribution cases were essential to its holding, instead
    claiming that they are more than “an aside or irrele-
    vancy.” (Benjamin Br. 34). But it takes more than that
    to make them binding on future panels. Jimenez v.
    Walker, 458 F.3d 130, 142 (2d Cir. 2006) (“If a point of
    law might have been decided either way without af-
    fecting any right brought into question, then, accord-
    ing to the principles of the common law, an opinion on
    such a question is not a decision.”). The sole case Ben-
    jamin cites on this question is not to the contrary. In
    Hormel Foods Corp. v Jim Henson Productions, Inc.,
    Hormel sued to enjoin Henson from naming a charac-
    ter “Spa’am,” in unwanted homage to Hormel’s prod-
    uct, SPAM. 73 F.3d 497, 500 (2d Cir. 1996). The dis-
    trict court rejected Hormel’s claims, and this Court af-
    firmed. Id. at 502-08. This Court also addressed the
    district court’s suggestion that its ruling was dictum
    because Henson had delayed merchandising “Spa’am”
    pending a ruling on its legality. This Court explained
    that the ruling was not dictum, citing the language
    Benjamin quotes and explaining that “the issue . . .
    was before the court, was argued before the court, and
    was passed on by the court.” Id. at 508. In Ganim, the
    applicability of Evans to contribution cases and the
    meaning of “explicit” in McCormick were not before
    this Court, and so those questions were “unnecessary
    to the disposition of the case,” id., and therefore dicta.
       Nor does Benjamin succeed in his fallback argu-
    ment that the dicta in Ganim and Garcia are the type
    of considered dicta that commanded the District
    Court’s deference. His argument here turns on
Case 22-3091, Document 64, 04/07/2023, 3495949, Page25 of 36




                               19


    fallacies. He claims these dicta were “twice considered
    at length.” (Benjamin Br. 34). But these dicta form less
    than a paragraph in Garcia, and only two in Ganim.
    See Garcia, 992 F.2d at 414; Ganim, 510 F.3d at 142-
    43. And Benjamin claims these dicta were “relied on in
    subsequent decisions and prosecutions.” (Benjamin
    Br. 34). But he has not identified such reliance in cam-
    paign contribution bribery cases, because no cases on
    that subject exist in this Circuit. (Supra at 14).
        That renders Benjamin’s two citations on consid-
    ered dicta beside the point. He cites United States v.
    Oshatz, 912 F.2d 534 (2d Cir. 1990), but does not dis-
    pute the Government’s explanation that Oshatz shows
    these dicta bear no resemblance to the kind of guid-
    ance from this Court that district courts should follow
    even if technically dicta. (Br. 28-29). And his citation
    to a district court case strays even further afield; that
    court followed this Court’s dicta from a case address-
    ing the same basic facts, resolving the same dispute,
    between “nearly identical” parties, four years earlier.
    See Patsy’s Italian Rest., Inc. v. Banas, 508 F. Supp. 2d
    194, 209-10 (E.D.N.Y. 2007). Benjamin plainly cannot
    show anything of the sort here, given that this Court
    has apparently never addressed a campaign contribu-
    tions bribery prosecution, ever.
       Finally, Benjamin insists that Ganim and Garcia
    must be about more than their holdings in order to pro-
    tect First Amendment concerns surrounding campaign
    contributions. (Benjamin Br. 35-36). But Ganim and
    Garcia did not examine those concerns, because they
Case 22-3091, Document 64, 04/07/2023, 3495949, Page26 of 36




                              20


    did not involve campaign contributions. 8 The words
    “First Amendment” do not appear in either opinion. It
    is McCormick that marks the boundaries between
    campaign contribution protected by the First Amend-
    ment and quid pro quo bribery subject to prosecution.
    And there is nothing in Ganim or Garcia that prevents
    this Court from following the uniform view of seven
    Circuits that McCormick prevents true corruption
    while safeguarding First Amendment freedoms by
    criminalizing only clear and unambiguous exchanges
    of official acts for contributions, without requiring
    those agreements to be formed using brazen language
    like, “Thank you for the $10,000 campaign contribu-
    tion. In return for it, I promise to introduce your bill
    tomorrow.” Inzunza, 638 F.3d at 1014.

    D. The Bribery Counts Are Sufficiently Pled
        Benjamin does not dispute that if this Court de-
    clines to adopt the District Court’s unique interpreta-
    tion of McCormick, then its dismissal of the bribery
    counts must be reversed. (See Br. 42). And he fails to
    rebut the Government’s alternative argument that
    even if the District Court had not misread McCormick,
    —————
       8   Benjamin thus fights a strawman in claiming
    that the Government seeks to “cabin[ ]” McCormick’s
    rule to precluding the use of the “as opportunities
    arise” theory in contribution cases. (Benjamin Br. 36).
    The point of the Government’s discussion of that the-
    ory is that it may explain the appearance of the dicta
    in Ganim, not that it cabins McCormick’s rule, which
    was not at issue in that case. (See Br. 30-31).
Case 22-3091, Document 64, 04/07/2023, 3495949, Page27 of 36




                               21


    it plainly misread this Court’s precedents on the nar-
    row circumstances under which counts may be dis-
    missed before trial. (Br. 43-53).

       1. Explicitness Is Not an Element Required to
          Be Alleged in an Indictment
        Although “some cases debate how ‘specific,’ ‘ex-
    press’ or ‘explicit’ a quid pro quo must be to violate the
    bribery, extortion and kickback laws,” those “adjec-
    tives do not add a new element to these criminal stat-
    utes.” Terry, 707 F.3d at 613. Benjamin argues other-
    wise, but he relies largely on cases discussing statutes
    not at issue here, implying elements not claimed to ex-
    ist here. (Benjamin Br. 43-45). That cannot show that
    “explicitness” is an implied element in the instant stat-
    utes, because not everything that must be proven at
    trial is an implicit element. For example, this Court
    has found that alleging a defendant conspired to “kill”
    sufficed to charge conspiracy to murder, even though
    murder requires proving more than just killing.
    United States v. Bout, 731 F.3d 233, 240-41 (2d Cir.
    2013); see also, e.g., United States v. Balde, 943 F.3d
    73, 89 (2d Cir. 2019) (although Government was re-
    quired to prove that defendant knew he was unlaw-
    fully in the United States, failure to allege that he
    knew this fact did not mean that indictment failed to
    charge a crime).
        Regardless, if the Indictment must allege an ex-
    plicit quid pro quo, it does so. Benjamin fails to show
    that the allegation that he agreed to allocate a specific
    $50,000 grant “in exchange for” particular campaign
    contributions does not sufficiently plead an explicit
Case 22-3091, Document 64, 04/07/2023, 3495949, Page28 of 36




                               22


    quid pro quo. Indeed, the sole on-point case he cites on
    this point says that exactly those words suffice. See
    United States v. Donagher, 520 F. Supp. 3d 1034, 1045
    (N.D. Ill. 2021) (listing “in exchange for” as among the
    language that would plead an explicit quid pro quo un-
    der McCormick). And Benjamin does not help his case
    by citing United States v. Davis, 30 F.3d 108 (11th Cir.
    1994). That opinion says nothing about whether ex-
    plicitness must appear in an indictment, but rather
    held that the jury instructions should have included
    this requirement. Id. at 109. Nor does Benjamin dis-
    pute that in the Eleventh Circuit—as everywhere else
    —alleging an agreement to take official action in ex-
    change for contributions adequately pleads an explicit
    quid pro quo. (See Br. 41 n.8 (citing United States v.
    McGregor, 879 F. Supp. 2d 1308, 1319 (M.D. Ala.
    2012))).
        Benjamin also misunderstands the relevance of
    this Court’s decision in United States v. Ng Lap Seng,
    934 F.3d 110 (2d Cir. 2019). (See Benjamin Br. 47). To
    be sure, Ng does not resolve the exact question here,
    because this Court has never before addressed this
    question. But it is analogous. In Ng, a United Nations
    official traded official action for bribes in the form of
    otherwise proper “voluntary contributions” on which
    such officials may rely for legitimate funding. 934 F.3d
    at 116-18 & n.4. This Court explained that although
    the contributions were not themselves unlawful, “mak-
    ing such contributions in exchange for a statutorily
    proscribed quid pro quo can constitute unlawful brib-
    ery,” citing, with another case, McCormick, 500 U.S. at
Case 22-3091, Document 64, 04/07/2023, 3495949, Page29 of 36




                                23


    273. Ng, 934 F.3d at 117 n.4 (emphasis in original). 9
    Ng thus applies the same principle that other Circuits
    have consistently used when applying McCormick: Al-
    though voluntary contributions to officials may not be
    unlawful—even if made to gain influence with those
    officials—making contributions “in exchange for” offi-
    cial action is the sort of quid pro quo the law forbids. 10
       Finally, Benjamin illustrates a broader flaw in his
    arguments when discussing United States v. San-
    teramo, 45 F.3d 622 (2d Cir. 1995). In its main brief,
    the Government showed that under Santeramo even
    where an implied element must be pled in an indict-
    ment, it need not be pled in particular words. (Br. 45).
    In response, Benjamin argues that although the San-
    teramo indictment may have done that, the Indictment
    here alleges an “implicit quid pro quo.” (Benjamin

    —————
       9   Benjamin insists that this Court “made clear” it
    was not applying McCormick by using a “cf.” cite before
    describing the holding of McCormick. (Benjamin
    Br. 47 n.7). But this Court had no obligation to cite
    McCormick at all, and so seems far more plausibly to
    have cited it given the parallel between the contribu-
    tions at issue in Ng and those at issue in McCormick.
       10  Benjamin’s attempt to distinguish other cases
    showing that “in exchange for” sufficiently alleges an
    explicit quid pro quo (Benjamin Br. 47-48) relies on
    previously discussed errors, such as claiming that
    McCormick applies only to bribes consisting solely of
    contributions and that the Sixth Circuit has not firmly
    rejected Benjamin’s position. (See supra at 7-8).
Case 22-3091, Document 64, 04/07/2023, 3495949, Page30 of 36




                               24


    Br. 49). Benjamin uses this phrase elsewhere in his
    brief, but only here does he explain what he means by
    it, stating that the implicit quid pro quo is one “in-
    ferred from the timeline of events” and Benjamin’s
    statement “Let me see what I can do.” (Benjamin
    Br. 49). 11
        To the extent Benjamin suggests that the Indict-
    ment alleges a quid pro quo that is implied by the facts
    but not one that existed in his mind, the Indictment
    refutes him. The Indictment repeatedly alleges that
    Benjamin “agreed to,” “solicited,” “demanded,” and
    “participated in” this exchange “willfully,” “corruptly,”
    “knowingly,” “intending to be influenced and re-
    warded,” and “intending to devise a scheme and arti-
    fice to defraud.” (A. 1, 15, 16, 18, 19). There is thus no
    colorable argument that the Indictment fails to allege
    that the exchange here was explicitly entered, under-
    stood, and undertaken by Benjamin. See generally
    United States v. Ford, 435 F.3d 204, 214 (2d Cir. 2006)
    (explaining the need to prove a quid pro quo reflects
    “the specific state of mind requirement of a bribery
    charge”).

    —————
       11  Elsewhere, Benjamin seems to evoke the Dis-
    trict Court’s contrast between an “implicit quid pro
    quo” and “explicit quid pro quo” under McCormick.
    (Benjamin Br. 1, 46). But as the Government previ-
    ously explained, this is a false dichotomy because al-
    though the existence of the agreement can be implied
    —that is, proven—through circumstantial evidence,
    its terms must be explicit. (Br. 38).
Case 22-3091, Document 64, 04/07/2023, 3495949, Page31 of 36




                               25


       To the extent Benjamin instead argues that the
    facts merely imply, rather than prove, the willful quid
    pro quo that the Indictment alleges, that argument
    has no bearing here. In a motion to dismiss, courts
    must assume that the trial will prove what the indict-
    ment alleges. See, e.g., United States v. Sampson, 898
    F.3d 270, 282 (2d Cir. 2018); United States v. Alfonso,
    143 F.3d 772, (2d Cir. 1998); United States v. Goldberg,
    756 F.2d 949, 950 (2d Cir. 1985). Here, Benjamin not
    only argues improperly that the evidence will not
    prove the Indictment’s allegations, he does so by ask-
    ing this Court to view the facts in the light most favor-
    able to him, arguing the inferences a jury should draw
    and minimizing damaging parts of the record. (Com-
    pare Br. 51-53 with A. 1-18). For example, far from be-
    ing asked to piece things together on their own, jurors
    will hear testimony from the other party to this agree-
    ment, Migdol, who will explain how he understood his
    agreement with Benjamin to be a quid pro quo of
    $50,000 in state funds in exchange for contributions to
    Benjamin. (See Br. 5). 12 Nor can Benjamin complain
    that his willful agreement to exchange official action
    for contributions will in part be “inferred from the

    —————
       12  Benjamin questions the relevance of Migdol’s
    testimony (Benjamin Br. 49 n.9), but the testimony of
    the counterparty to a bribe is obviously relevant to un-
    derstanding that it was a bribe. See, e.g., Ng, 934 F.3d
    at 117 (counterparty “testified that he understood that
    a portion of the $20,000 a month that Ng was paying
    him . . . as well as other payments . . . were in fact
    bribes to secure” an official act).
Case 22-3091, Document 64, 04/07/2023, 3495949, Page32 of 36




                               26


    timeline of events” and his own oblique statements:
    Benjamin acknowledges, as he must, that circumstan-
    tial evidence is properly considered to prove his state
    of mind. (Benjamin Br. 23-24).

       2. The Bribery Counts Sufficiently Allege
          Crimes
       The District Court also dismissed the bribery
    counts because it believed McCormick required the
    bribery agreement to precede any official action, but
    the Indictment reflected Benjamin allocating state
    funds and then securing the contributions. (A. 53-57).
    In its opening brief, the Government explained that
    McCormick imposes no such timing requirement on
    the bribery counts, especially given that solicitation
    and honest services fraud do not require a meeting of
    the minds, and conspiracy does not require an official
    action. (Br. 47-48).
       In response, Benjamin primarily repeats his main
    argument that the Indictment fails to allege an explicit
    quid pro quo. (Benjamin Br. 50-54). But that argu-
    ment cannot justify the District Court’s alternative
    ruling as a separate ground for dismissal, because if
    the argument is wrong—as it is, for all the reasons dis-
    cussed above—then it no more supports this ground
    for dismissal than the first one. When Benjamin fi-
    nally turns to the District Court’s reasoning specific to
    this ruling, he claims that the terms of the quid pro
    quo must be “settled” before the official action, or oth-
    erwise they are not clear and unambiguous. (Benjamin
    Br. 54). That is incorrect. When and in whose mind the
    terms must be explicit will depend on the elements of
Case 22-3091, Document 64, 04/07/2023, 3495949, Page33 of 36




                               27


    the crime. For example, if a politician proposes “I will
    allocate $50,000 in state funds to your organization if
    you contribute to my campaign,” he has certainly so-
    licited a clear and unambiguous quid pro quo, even if
    he never settles upon any terms with the prospective
    contributor. See United States v. Rooney, 37 F.3d 847,
    852 (2d Cir. 1994).
       Benjamin also fails to defend the District Court’s
    error in presuming that Migdol was unaware that
    Benjamin retained authority to withdraw the $50,000
    grant throughout the relevant events simply because
    that fact was not alleged in the Indictment. (Br. 48-
    53). To start, he declines to engage with the cases hold-
    ing that dismissal for evidentiary insufficiency is ap-
    propriate only where the Government has completely
    proffered all its evidence, and that the record here does
    not approach that high bar. See, e.g., Sampson, 898
    F.3d at 281-85. Instead, Benjamin asserts that the In-
    dictment “clearly lays out the prosecution’s theory.”
    (Benjamin Br. 5, 55). But all indictments should
    clearly present the prosecution’s theory. That does not
    show that they also contain a “detailed presentation of
    the entirety of the evidence that [the Government]
    would present to a jury.” Alfonso, 143 F.3d at 777.
       This gap is not filled by Benjamin’s discussion of
    United States v. Aleynikov, 676 F.3d 71 (2d Cir. 2012),
    and United States v. Pirro, 212 F.3d 86 (2d Cir. 2000).
    In Aleynikov, a computer programmer was indicted for
    stealing software code. 676 F.3d at 71-75. Relying on
    traditional tools of statutory construction, id. at 75-76,
    this Court concluded that because code is “purely in-
    tangible property” it does not qualify as the “goods,”
Case 22-3091, Document 64, 04/07/2023, 3495949, Page34 of 36




                               28


    “wares,” and “merchandise,” covered by the National
    Stolen Property Act. Id. at 76-79. This Court also con-
    cluded that the code was not a “product . . . produced
    for or placed in interstate or foreign commerce” under
    the Economic Espionage Act, because the indictment
    described it as secret, proprietary software that was
    never intended to leave Goldman Sachs. Id. at 79–82.
    The indictment in that case thus specified a fact—that
    the stolen item was computer code—that per se did not
    violate the charged statutes, warranting dismissal. Id.
    at 82. It was as if a defendant were indicted for violat-
    ing a firearms law, but his indictment specified that
    the firearm in question was “a knife.” That bears no
    relationship to the detail concerning Migdol’s
    knowledge that the District Court found missing here.
        In Pirro, the defendant was charged with false
    statements on a tax return, for, among other things,
    failing to list a chairman of the board’s “ownership in-
    terest” in a business. 212 F.3d at 89-90. This Court
    found no legal duty that could have required the de-
    fendant to report the chairman’s ownership interest
    unless he was a shareholder. Id. at 89–91. But the in-
    dictment alleged only that the chairman had an “own-
    ership interest”—a category that included, but was not
    limited to, shareholders. Id. at 94-95. Thus, because it
    alleged no facts triggering a legal duty to report the
    ownership interest, the indictment alleged no violation
    that could serve as the predicate for the charged tax
    offense. Id. at 95. It was as if the defendant were
    charged with violating a statute prohibiting the pos-
    session of a firearms, and his indictment stated only
    that he possessed “a weapon.” Moreover, this Court
    has explained that Pirro belongs to the exceptional
Case 22-3091, Document 64, 04/07/2023, 3495949, Page35 of 36




                               29


    class of cases where an indictment must provide more
    detail than usual, because it concerned “charges of
    criminal falsity.” United States v. Stringer, 730 F.3d
    120, 126-27 (2d Cir. 2013) (holding that although iden-
    tity of victim is “essential element,” it need not be pled
    in the indictment). Pirro thus bears no resemblance to
    the District Court’s dismissal of the bribery counts for
    failure to allege a secondary detail in its “timeline of
    events.” (A. 53).

                        CONCLUSION
       The District Court’s order dismissing Counts
    One, Two, and Three should be reversed, and this
    case should be remanded for trial on all counts in
    the Indictment.

    Dated:     New York, New York
               April 7, 2023

                          Respectfully submitted,

                          DAMIAN WILLIAMS,
                          United States Attorney for the
                          Southern District of New York,
                          Attorney for the United States
                               of America.

    JARROD L. SCHAEFFER,
    HAGAN SCOTTEN,
       Assistant United States Attorneys,
                   Of Counsel.
Case 22-3091, Document 64, 04/07/2023, 3495949, Page36 of 36




              CERTIFICATE OF COMPLIANCE
       Pursuant to Federal Rule of Appellate Procedure
    32(g), the undersigned counsel hereby certifies that
    this brief complies with the type-volume limitation of
    the Federal Rules of Appellate Procedure and this
    Court’s Local Rules. As measured by the word pro-
    cessing system used to prepare this brief, there are
    6,986 words in this brief.

                        DAMIAN WILLIAMS,
                        United States Attorney for the
                        Southern District of New York

                    By: HAGAN SCOTTEN,
                        Assistant United States Attorney
